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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et
 al.,

 Plaintiffs,

 v.

 President Donald J. Trump, et al.,
                                             Case No. 1:25-cv-00352
 Defendants.




 [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO
                  SUPPLEMENT THE RECORD

        Upon consideration of Plaintiffs’ motion and for good cause shown, the Court

GRANTS Plaintiffs’ motion to supplement the record.

        SO ORDERED.



Dated: ____________​                        _____________________________
                                            THE HON. CARL J. NICHOLS
                                            UNITED STATES DISTRICT JUDGE
